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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                     )
          Petitioner,                         )
                                              )
V.                                            )   CIVIL NO. SA-23-CV-01382
                                              )
BARRETT FIREARMS MFG. CO.                     )
82A1 Rifle, Cal: 50 BMG,                      )
SN: AA015567,                                 )
                                              )
               Respondent.                    )

                      WARRANT FOR THE ARREST OF PROPERTY

TO THE BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, OR ITS
DESIGNATED AGENT, OR OTHER AUTHORIZED LAW ENFORCEMENT OFFICER
OR ANY OTHER PERSON OR ORGANIZATION AUTHORIZED BY LAW TO
ENFORCE THE WARRANT:

       WHEREAS a Verified Complaint for Forfeiture in rem was filed on the 1st day of

November, 2023, against the following property:

       •   Barrett Firearms Mfg. Co. 82A1 Rifle, Cal: 50 BMG, Serial Number AA015567,

hereinafter the Respondent Firearm, alleging that the Respondent Firearm is subject to forfeiture

to the United States of America pursuant to Title 18 U.S.C. § 924(d)(1) for the violation of Title

18 U.S.C. § 922(a)(6); and

       WHEREAS an Order has been entered by the United States District Court for the Western

District of Texas that a Warrant for Arrest of Property be issued as prayed for by Petitioner United

States of America.

       YOU ARE THEREFORE COMMANDED to arrest and take actual or constructive

possession of the Respondent Firearm as soon as practicable by serving a copy of this warrant on

the custodian in whose possession, custody, or control the Respondent Firearm is presently found,
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and to use whatever means may be appropriate to protect and maintain the Respondent Firearm in

your custody until further order of this Court, including designating a substitute custodian or

representative for the purposes of maintaining the care and custody of the Respondent Firearm and

to make a return as provided by law.

       SIGNED this _______ day of ___________________, 2023.



                                                    ______________________________
                                                    PHILIP J. DEVLIN
                                                    United States District Clerk
                                                    Western District of Texas


                                            By:     ______________________________
                                                    Deputy




                                               2
